              Case 1:20-cr-00084-LO
Criminal Case Cover Sheet                                Document 14 Filed 06/11/20 Page 1 of 1 PageID# 72District Court
                                                                                                      U.S.
                                                      FILED: REDAaED



Place of Offense:                       Q Under Seal         Related to: l:16-ES-4 and 15GJ4483         Judge Assigned:          O'Grady


City;      Springfield                  Superseding Indictment:                                         Criminal No.             1:20-CR-^H

County: Fairfax                         Same Defendant:                                                 New Defendant:


                                        Magistrate Judge Case No.                                       Arraignment Date:

                                        Search Warrant Case No.                                         R. 20/R.40 From:

Defendant information;


Defendant Name:          Garrison Kenneth Courtney               Alias(es): see charging doc            Q Juvenile FBI No.

Address:                 Tampa, FL 33626


Employment:              Hunti ngton Ingalls Industries, Inc.

Birth Date: XX/XX/1976            SSN: XXX-XX-6061              Sex:    Male           Race; White                 Nationality; USA

Place of Birth: Phillipines           Height: 6'01" Weight: 230             Hair: Bl            Eyes: Blue         Scars/Tattoos: tattoos upper arm


Q Interpreter Language/Dialect: English                                             Auto Description:

Location/Status:


Arrest Date:                               Q Already in Federal Custody as of:                                         in:



□ Already in State Custody                □ On Pretrial Release                ^ Not in Custody

Q Arrest Warrant Requested                 □ Fugitive                          Q Summons Requested

□ Arrest Warrant Pending                   □ Detention Sought                  Q Bond
Defense Counsel Information:


Name:       Stuart A. Sears                                            g] Court Appointed         Counsel Conflicts:

Address: 901 New York Avenue, N.W., Washington, DC 20001               Q Retained

Phone:      (202) 628-4199                                             Q Public Defender                                     Federal Public Conflicted Out

U.S. Attorney Information:


AUSA(s):     Matthew Burke, Heidi Gesch, Raj Parekh                            Phone: 703-299-3927                     Bar No.

Complainant Agency - Address & Phone No. or Person &Tit1g:

Special Agent Katherine Pattillo, 703-686-6258

                  :       Code/Sertinn                  Offense Charnerl                              Countlsl               Caoital/Felonv/Mlsd./Pettv


  Set 1:              18U.S.C.1343              wire fraud                                  1                                 felony

  Set 2:
                                                                                       /    1


  Date:               3/26/2020                AUSA Signature:                                                                 may be continued on reverse
